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                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

 VICKI TIMPA, et al.,                         §
                                              §
      Plaintiffs,                             §
                                              §
 v.                                           §   Civil Action No. 3:16-CV-03089-N
                                              §
 DUSTIN DILLARD, et al.,                      §
                                              §
      Defendants.                             §

                                          ORDER

         The Court previously requested the parties to confer regarding the form of a

protective order regarding pretrial publicity. If the parties are unable to agree to a form of

order, the Court directs them to submit their respective proposed forms no later than 12:00

noon, Monday, August 7, 2023.


         Signed August 2, 2022.




                                                              David C. Godbey
                                                         United States District Judge




ORDER – SOLO PAGE
